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                             UM TED STATESDISTRICT COURT
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                             W ESTERN D ISTIUCT OF VIR GIN IA
                                   DAN VILLE D IV ISION

 UM TED STATESOFAM ERICA                  )
                                          )
                                          )       CriminalNo.4:18-cr-0009
                                          )
 M ATTHEW FERGUSON                        )
 = d-JOSHUA COLEM AN-                   - )

        UN ITED STA TES'S STA TEM EN T O F FA CTS IN SUPPO R T O F PLEA S

       The U nited States of Am erica respectR lly submits the following statem entof facts ixl
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supportoftheguiltypleasofDefendantsM atthew Ferguson andJoshuaColeman:
       Had thiscase goneto trial,thegovernm entWouldhaveproven beyondareasonable doubt

that on Saturdaya'October 22,2016,M atthew FERGUSON texted JuveM e A via Facebook
                                                                           '
                                    .

M essengerand said thathe andlliscousin,Joshua COLEM AN,had alqohol. FERGUSON arld

theJuvenileA lçnew each other,and,although theyhad notsocialized likethisbefore,JuvenileA

agreed to meetup with FERGUSON and COLEM AN .

      Atapproximately 10:30-11:00 p.m .,COLEM AN picked up JuvenileA and drove herto

COLEM AN 'S house located in D anville,Virginia wlzich is in the W estem D istrictofV irginia.

There,FERGUSON andCOLEMAN madealcoholJrinksforJyvenileA from multilledifferent
bottles,and a11three smoked K-2,asynthetic form ofmadjuana. Atsomepoint,JuvenileA
passed out,wnking up eérly the nextm orning,>rotm d 2-3:00 am . W hen Juvenile A woke up,

JuvenileA did notfeelright,and asked FERGUSON and COLEM AN to transportJuvenileA to




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theem ergencyroom . They dropped JuvenileA offoutside ofthehospitaland drove away from

theblzilding. Atthehospital,JuvenileA wastreated foralcoholpoisoning.

      A few weekslater,Juvenile A saw on Facebook atleasttwo videosshowing JuverlileA

having sexualintercourse with FERGUSON and COLEM AN,wllich the Urlited Sfates now

possesses. In one video,FERGUSON is having vaginalintercolzrse with Juvenile A while

COLEM AN film sthe eventon a cellphone. Towards the end ofthe video,JuvenileA appears

lmresponsive. In the second video,COLEM AN ishaving vaginalintercourse with Juyenile A
       3             .                                               .


Fhile she perform s oral sex on FERGUSON . Dllring the video, COLEM AN is holding a

cellphone in an outstetched arm and recording the eventwhile it occurs.'At one point,the

cellphonerecordsFERGUSON looking atthecam eraand,atAnotherm om ent,COLEM AN looks

directly atthe cameraand makesaface.

      Juvei le A doesnotrecallthe sexualassaultand did notgive permission forthe sexual

contactortheflmingofit. Atthetimeoftheftlming,JuvertileA was15yearsold.
                                       Respectfully subm itted,

                                       TH OM AS T.CULLEN
                                       U nited StatesA ttom ey

                                       s/HeatherL.Carlton
                                       Ronald M .Huber
                                       HeatherL.Carltoh
                                       A ssistantUzlited States Attom eys .
                                       U nited StatesAttom ey's Offce
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                                  CER TIFICA TE OF SER W CE

      Ihereby certify thatatnze and correctcopy oftlleforegohg hasbeen fled with the Clerk

in the courtroom and a copyprovided byhand to allcotmselfortheDefendants,on this25thday

of October,2018.


                                                                            S/HCZthCCt,.Cadton
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                                                                            A ssistantU llited'states-W ttorney ----
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